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                  Application Granted in part. Defendants' motion(s), if any, shall be filed
                  by December 2, 2020. The Government's response shall be filed by
                  December 16, 2020. Defendants' reply shall be filed by December 23,
                  2020. All other dates shall remain unchanged. The Clerk of the Court is
                  directed to terminate the letter motions at docket numbers 39 and 40.

                  Dated: November 6, 2020
                  New York, New York
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